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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA

LIMA ONE CAPITAL SPECIAL
SERVICING,
INC., a Delaware corporation,
                                             CIVIL ACTION FILE NO.:
                         Plaintiff,          1:18-CV-04070-MLB
vs.


E.S. REAL ESTATE CONSORTIUM,
INC., a Georgia corporation;
CONSORTIUM TITLE,LLC,a
Virginia limited liability company;
INTEGRITY SETTLEMENT
SERVICES,LLC, a Florida limited
liability company; ANEAKA ENGLISH,
an individual; CASITA SIMPSON,an
individual; and COLEEN THOMAS;an
individual,

                         Defendants.


      PLAINTIFF'S RESPONSE TO DEFENDANT E.S. REAL ESTATE
          CONSORTIUM,CORP.'S MOTION TO DISMISS AND
                   MEMORANDUM IN SUPPORT

      Plaintiff, Lima One Capital Special Servicing, Inc. ("Plaintiff'), states as

follows for its Response to E.S. Real Estate Consortium, Corp.'s ("ESREC")

Motion to Dismiss and Memorandum in Support:

                               INTRODUCTION
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       ESREC, along with the remaining Defendants, has a long and sordid history

of borrowing money and failing to pay it back. So much so that the FBI is

investigating Aneaka English and these related entities. For ESREC to describe

this transaction as a "failed real estate transaction" is at best misleading. It is clear

from the pleadings alone that the Defendants were not involved in the sale or

purchase of any real estate, but merely used that as a scheme to receive money

from Plaintiff. Further, ESREC blatantly assumes facts that simply do not exist to

attack Plaintiff's standing while ignoring the factual allegations contained in the

complaint. This is just another delay tactic as ESREC has no viable defenses.

      As discussed below, 28 U.S.C. § 1359 is inapplicable in this case as the

assignor is not a Georgia citizen itself, therefore, making collusion impossible.

Likewise, Plaintiff has alleged specific factual allegations as to ESREC's actions

that gave rise to this action. Lastly, ESREC seemingly wants this Court to dismiss

the entire case or three claims against all defendants, without it having standing to

make arguments on behalf of anyone but itself. For all of these reasons, ESREC's

motion fails, and it must be denied with prejudice and costs assessed.

                 ARGUMENT & CITATION TO AUTHORITY

I.    THIS COURT HAS SUBJECT MATTER JURISDICTION OVER
      THIS MATTER.

      A.     Plaintiffs Complaint Alleges Diversity Jurisdiction
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       ESREC relies on the assignment attached to Plaintiffs complaint to argue

the assignment is collusive and created diversity. However, ESREC fails to

adequately identify the citizenship of the assignor, Lima One Capital, LLC. As

this Court is aware, the citizenship of a limited liability company is based on the

citizenship of each of its members, not the state in which it was formed. Rolling

Greens MHP,L.P. v. Comcast SCHHoldings L.L.C., 374 F.3d 1020, 1022(11th Cir

2004) (stating "a limited liability company is a citizen of any state of which a

member of the company is a citizen"). ESREC does not explain how it has

determined Lima One Capital, LLC is a Georgia citizen despite claiming its attack

is factual, not facial.

       In actuality, Lima One Capital, LLC is made up of eight members. Five of

those members are individuals, who are all citizens of South Carolina. Exhibit A,

Affidavit of Josh Woodward, CFO of Lima One Capital, LLC. The remaining

three members are two limited liability companies and a limited partnership

(hereinafter the "Magnetar Entities"). Id. Therefore, to the best of Plaintiff's

knowledge, its assignor is not a Georgia citizen for purposes of this action. As the

presumption of 28 U.S.C. § 1359 is only applicable if the assignment is used "to

manufacture diversity jurisdiction that would not otherwise exist," it is wholly

inapplicable in this case. Gilbert v. Wills, 834 F.2d 935,937(11th Cir. 1987).
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      Lima One Capital, LLC did not assign its interest to Plaintiff to manufacture

diversity, but to comply with its investor's requirements that their entities remain

anonymous and confidential. Id. As discussed in Kramer v. Carribean Mills, for

an assignment to be collusive under 28 U.S.C. § 1359, a party must show:

      1)    Assignor retains an interest in the assigned claims;
      2)    Assignee has no previous connection in the matter; AND
      3)    The Assignment is made for the sole purpose of accessing the federal
            courts.

394 U.S. 823, 827-28 (1969). As discussed above, and proven in the affidavit

attached as Exhibit A,Lima One Capital, LLC did not assign the cause of action to

access the federal courts, but to protect its investors. Therefore, ESREC's attack

on the assignment fails under the Kramer test as there is a legitimate business

purpose for the assignment, and there is no evidence that the assignment created

diversity, which means this Court retains jurisdiction pursuant to 28 U.S.C. §1332.

      B.     Plaintiff has properly pled a federal question, providing this
             Court with subject matter jurisdiction. Further,even is the RICO
             claim as to ESREC is dismissed; it remains as to all other
             Defendants.

      As discussed below, the factual allegations included in the Complaint allege

a claim against all Defendants pursuant to 28 U.S.C. § 1331. Plaintiff has alleged

mail fraud, wire transfer fraud, and a continuing enterprise, again bolstered by the

FBI's current investigation into Aneaka English. Further, ESREC does not have

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standing to assert any defense or argument on behalf of the other Defendants.

Therefore, even if the Court finds the Complaint does not state a claim under 28

U.S.C. § 1964(c) against ESREC (which it does), the claim remains as to the other

five Defendants.

         For all of these reasons discussed above, the Court has subject matter

jurisdiction over this matter. There is diversity amongst the parties; the assignment

was not collusive; and the Complaint alleges the facts necessary to state a RICO

claim.

II.    COUNTS I, II, AND IV OF THE COMPLAINT STATE CLAIMS FOR
       WHICH RELIEF MAY BE GRANTED.

       A.     Standard of Review

       A motion under Fed. R. Civ. P. 12(b)(6) tests the legal sufficiency of the

complaint, accepting as true all allegations contained therein. Hill v. White, 321

F.3d 1334, 1335 (11th Cir. 2003). While ESREC's Motion correctly states the

current pleading requirements as discussed in Bell Atlantic Corp. v. Twombly, 550

U.S. 544(2007) and Ashcroft v. Iqbal, 556 U.S. 662(2009), it is important to note

that the 1    Circuit has stated "the rule 'does not impose a probability requirement

at the pleading stage,' but instead simply calls for enough facts to raise a

reasonable expectation that discovery will reveal evidence of the necessary



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element." Speaker v. U.S. Dept. of Health and Human Services Centers for

Disease Control and Prevention,623 F.3d 1371 (11th Cir. 2010)(citations omitted).

       B.    The Complaint Alleges Facts Sufficient to Plead a RICO Claim
             Pursuant to 18 U.S.C.§ 1964(Count IV).

       In its Complaint, Plaintiff alleges the following specific facts:

      In December 2017, Aneaka English ("English") approached Lima One
      Capital, LLC to discuss financing of a real estate sale. Exhibit B, pg. 4.
      English provided a Purchase Agreement dated October 15, 2017. Id.
      English represented herself as an agent ofthe borrower. Id.
      English provided a HUD statement that purported to show where the Lima
      One Capital, LLC's funds would be paid after the sale. Id.
      English provided a second HUD statement that purported to show how Lima
      One Capital, LLC would be repaid its funds. Id.
      English stated funds would be returned to Lima One on the date of closing.
      Id.
      Integrity Settlement Solutions ("Integrity") asserted it had an errors and
      omissions policy, which was false as no policy existed. Id. at pgs. 5-6.
      Coleen Thomas("Thomas") sent an email to Lima One Capital, LLC stating
      Integrity was in possession of the funds necessary to repay the loan. Id. at
      pg. 5.
      Lima One was not repaid pursuant to English's and Thomas'
      representations.

ESREC argues in its Motion that Plaintiff has not properly pled violations of 18

U.S.C. § 1341 and 1342 as required to qualify as a "pattern of racketeering

activity" pursuant to 18 U.S.C. § 1961(5).

      However, the Complaint alleges that as a result of these misrepresentations,

Lima One Capital, LLC wired funds to the Defendants. Exhibit B, pg. 5, ¶ 22.

This is a clear violation of 18 U.S.C. § 1343, which states in relevant part:
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      Whoever, having devised or intending to devise any scheme or artifice
      to defraud, or for obtaining money or property by means of false or
      fraudulent pretenses, representations, or promises, transmits or causes
      to be transmitted by means of wire, radio, or television
      communication in interstate or foreign commerce, any writings, signs,
      signals, pictures, or sounds for the purpose of executing such scheme
      or artifice, shall be fined under this title or imprisoned not more than
      20 years, or both.

Accepting all factual allegations as true (as required in a FRCP 12(b)(6) motion),

English, Thomas, and the other Defendants working in concert created the scheme

that convinced Lima One Capital, LLC to wire funds; therefore, they have violated

18 U.S.C. § 1343.

      Similarly, Plaintiff stated that English mailed a check to Lima One Capital,

LLC on March 7, 2018 and misrepresented the check as payment in full of the

amounts owed. Id. at pgs. 5-6, ¶¶ 25-27. Therefore, English violated 18 U.S.C. §

1341, which states in relevant part:

      Whoever, having devised or intending to devise any scheme or artifice
      to defraud, or for obtaining money or property by means of false or
      fraudulent pretenses, representations, or promises, or to sell, dispose
      of, loan, exchange, alter, give away, distribute, supply, or furnish or
      procure for unlawful use any counterfeit or spurious coin, obligation,
      security, or other article, or anything represented to be or intimated or
      held out to be such counterfeit or spurious article, for the purpose of
      executing such scheme or artifice or attempting so to do, places in any
      post office or authorized depository for mail matter, any matter or
      thing whatever to be sent or delivered by the Postal Service, or
      deposits or causes to be deposited any matter or thing whatever to be
      sent or delivered by any private or commercial interstate carrier, or
      takes or receives therefrom, any such matter or thing, or knowingly
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       causes to be delivered by mail or such carrier according to the
       direction thereon, or at the place at which it is directed to be delivered
       by the person to whom it is addressed, any such matter or thing, shall
       be fined under this title or imprisoned not more than 20 years, or both.

While ESREC claims it cannot determine what violations of § 1341 and § 1343

Plaintiff is relying on as the basis of its RICO claim, a review of the factual

allegations in the Complaint, and the applicable statutes clearly shows that Plaintiff

has met it burden in pleading a RICO action as against ESREC.

      C.     The Complaint Alleges Facts Sufficient to Plead a Fraudulent
             Misrepresentation Claim (Count I).

      In addition to the facts listed above in Section B, Plaintiff's Complaint also

includes    added    allegations    that   specifically    address    the   fraudulent

misrepresentation claim as to English and Thomas. Specifically, Plaintiff alleges

that English made numerous misrepresentations about the sale of the property,

execution of sale documents, and repayment of funds owed to Lima One Capital,

LLC. Id. at pg. 7. Further, English knew those misrepresentations were false

when she made them, Lima One Capital, LLC reasonably relied on the previously

described misrepresentations to wire the funds, and Plaintiff was damaged as a

result. Id. While ESREC attempts to describe the Complaint as a mere recitation

of elements, it is not. It is impossible for Plaintiff to have specific knowledge as to

English's intent at the time she lied to Lima One Capital, LLC about the business

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deal, but the circumstantial evidence, as described in detail in the Complaint,

shows that English knew when she promised repayment that neither she, nor

ESREC, was going to make that payment.

      Similarly, Plaintiff specifically alleges that Thomas made misrepresentations

to Lima One Capital, LLC regarding Integrity's possession of funds to repay Lima

One and that Integrity had E & O insurance to cover any loss related to the

transaction. Only English and Thomas know if these misrepresentations were

made in their respective individual capacities or as agents of ESREC and Integrity.

It is impossible, and unnecessary, for Plaintiff to determine this information

without discovery. Therefore, the Complaint seeks relief from all involved as

these statements were clearly false, it was known to the speakers when they were

made that they were false, and indeed, Lima One Capital, LLC relied on those

statements to its detriment. Further, ESREC's argument that it cannot determine

how to defend this action is nonsense as English is ESREC's president, and

ESREC and English should know if English was acting in her official capacity or

otherwise.

      The Complaint states a claim for fraudulent misrepresentation as it relates to

ESREC based on English's statements and actions, and ESREC's motion must be

denied.

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       D.    The Complaint Alleges Facts Sufficient to Plead a Conspiracy
             to Commit Fraud Claim (Count II).

       Just as discussed above, the factual allegations contained in the Complaint

show that Plaintiff has properly plead a conspiracy to commit fraud claim. English

presented herself as a representative of the borrower who required funding; Casita

Simpson ("Simpson") represented herself as an agent of the borrower who was

going to execute the closing documents; and Thomas served as the title company

representative who received and distributed the funds. Exhibit B, pg. 9; TT 52-54.

These actions show the Defendants had a plan and they executed that plan to steal

funds from Lima One Capital, LLC as required by Georgia law. Howard v. Sellers

& Warren,P.C., et al., 309 Ga. App. 302(2011). Therefore, Plaintiff's Conspiracy

to Commit Fraud claim states a claim for which relief may be granted as against

ESREC,and ESREC's Motion must be dismissed.

III.   ESREC CANNOT REQUEST DISMISSAL OF THE CLAIMS ON
       BEHALF OF THE REMAINING DEFENDANTS.

       Throughout its Motion, ESREC claims to have knowledge of what the other

Defendants can and cannot determine from the Complaint. However, none of

those Defendants have appeared in this action. If, or until, those Defendants

appear in this action, they will have the right to raise any defenses allowed to them

by law. However, ESREC cannot simply request that this Court dismiss claims

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against other Defendants. If the Court determines one or more claims should be

dismissed as it relates to ESREC specifically (it should not), it must limit that

ruling to ESREC alone.

                                   CONCLUSION

      This motion appears to be nothing more than another delay tactic by

ESREC. Despite English admitting numerous times that the money is owed and

has not been repaid, and having made partial payments, ESREC now claims it

cannot defend this action.

      Plaintiff has properly plead its claims against all Defendants, and this Court

has subject matter jurisdiction to resolve the federal question (i.e. the RICO claim)

as well as diversity jurisdiction as all parties are citizens of different states and the

amount in controversy exceeds $75,000.00.

      Lastly, to the extent ESREC seeks dismissal of any claims as they relate to

the other named Defendants, it simply does not have a legal basis to do so. While

the remaining Defendants may be attempting to hide behind ESREC and its

counsel, Plaintiff has the right to litigate this matter as to all Defendants. If those

Defendants want to concur in the relief sought by ESREC, they can appear and do

SO.


                                                HAWKINS PARNELL
                                                THACKSTON & YOUNG LLP
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                                                   Attorneysfor Plaintiff

                                       Proof ofService
                 The undersigned certifies that on November 2, 2018,a copy of
                 the foregoing document was served upon the attorney(s) of
                 record in this matter at their stated business address as
                 disclosed by the records herein via:

                     Hand delivery                 Overnight mail
                     U.S. Mail                     Facsimile
                     Email                         Electronic Filing System
                 I declare under the penalty of perjury that the foregoing
                 statement is true to the best of my information, knowledge and
                 belief.


                                        /s/Doreen Stanard
                                        Doreen Stanard

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         EXHIBIT
            A
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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA

LIMA ONE CAPITAL SPECIAL
SERVICING,
INC., a Delaware corporation,
                                                     CIVIL ACTION FILE NO.:
                             Plaintiff,              1:18-CV-04070-MLB
vs.


E.S. REAL ESTATE CONSORTIUM,
INC., a Georgia corporation;
CONSORTIUM TITLE,LLC,a
Virginia limited liability company;
INTEGRITY SETTLEMENT
SERVICES,LLC, a Florida limited
liability company; ANEAKA ENGLISH,
an individual; CASITA SIMPSON,an
individual; and COLEEN THOMAS;an
individual,

                              Defendants.


      AFFIDAVIT OFIOSFI WOQDWARD IN SUPPORT OF PLAINTIFF'S RESPONSE

STATE OF GEORGIA
                                     )ss
COUNTY OF

      Josh Woodward, being first duly sworn,deposes and states:

      1.        I am the Chief Financial Officer of Lima One Capital, LLC.

      2         I am involved in the day to day business of Lima One Capital, LLC.

      3.        There are five individual persons who have a membership interest in Lima

One Capital, LLC: John Warren, John Thompson, Jeff Tennyson, Josh Woodward, and

Rankin Blair.
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        4.       All the individuals listed in paragraph 3 reside in South Carolina, and our

citizens of South Carolina.

         5.      The remaining members of Lima One Capital, LLC are two limited liability

companies and a limited partnership.

         6.      Due to the confidentiality concerns of these company members, this cause of

action was assigned to a servicing company for litigation.

    7. of $35.50.

                                                             Zeal, I
                                                          /h oodward
                  Novembers .2018                         Chief Financial Officer
                                                          Lime One Capital, LLC

 Subscribed and sworn to before me this
v. day of November,2018.
                     \



                                Notary Public

 My commission expires:        1l I "1- /   .U
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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF GEORGIA

LIMA ONE CAPITAL SPECIAL
SERVICING,
INC., a Delaware corporation,
                                                   CIVIL ACTION FILE
                              Plaintiff,
vs.                                                NO.:

E.S. REAL ESTATE CONSORTIUM,
CORP.,a Georgia corporation;
CONSORTIUM TITLE,LLC,a
Virginia limited liability company;
INTEGRITY SETTLEMENT
SERVICES,LLC, a Florida limited
liability company; ANEAKA ENGLISH,
an individual; CASITA SIMPSON,an
individual; and COLEEN THOMAS;an
individual,

                              Defendants.


                                       COMPLAINT

         Plaintiff, Lima One Capital Special Servicing, Inc. ("Plaintiff'), states as

follows for its Complaint:

         1.       Plaintiff is a Delaware corporation with its principal place of business

located in Greenville, South Carolina.           Therefore, for purposes of diversity,

Plaintiff is a citizen of Delaware and South Carolina.




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       2.       E.S. Real Estate Consortium, Corp. ("E.S. Real Estate") is a Georgia

corporation that has its principal place of business at 5317 Peachtree Boulevard,

Suite 316, Chamblee, Georgia 30341. Therefore, for purposes of diversity, E.S.

Real Estate is a citizen of Georgia.

        3.      Coleen Thomas ("Thomas") is an individual who upon information

and belief is domiciled in Virginia. Therefore, for purposes of diversity, Thomas is

a citizen of Virginia.

        4.       Consortium Title, LLC ("Consortium") is a Virginia limited liability

company, which upon information and belief has one member, Coleen Thomas.

Therefore, for purposes of diversity, Consortium is a citizen of Virginia as Thomas

is domiciled there.

        5.       Integrity Settlement Services, LLC ("Integrity") is a Florida limited

liability company, which, upon information and belief, has one member,

 Consortium, which has one member, Thomas, as discussed above. Therefore, for

 purposes of diversity, Integrity is a citizen of Virginia.

         6.       Aneaka English ("English") is an individual who upon information

 and belief is domiciled in Georgia. Therefore, for purposes of diversity, English is

 a citizen of Georgia.




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       7.       Casita Simpson ("Simpson") is an individual who upon information

and belief is domiciled in Florida. Therefore, for purposes of diversity, Simpson is

a citizen of Florida.

                           JURISDICTION AND VENUE

       8.       Jurisdiction over this matter properly rests within this Honorable

Court pursuant to 28 UCS §1331 and/or §1332. The complaint includes a federal

question, specifically Plaintiff's claim that the Defendants violated the Racketeer

Influenced and Corrupt Organizations Act("RICO"), as described below. Further,

the amount in controversy is in excess of Seventy-Five Thousand ($75,000.00)

Dollars, exclusive of interest and costs and none of the Defendants is a citizen of

Delaware or South Carolina while Plaintiff is a citizen of Delaware and South

 Carolina, which means there is complete diversity amongst the parties.

        9.       Venue is proper in this Honorable Court pursuant to 28 USC §1391(a)

 and (b)(3).

                             GENERAL ALLEGATIONS

         10.      Lima One Capital, LLC ("Lima One") is in the business of lending

 funds for short term real estate transactions, among other businesses.




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        11.     In December 2017, English, on behalf of E.S. Real Estate, requested

funding related to the closing of real property commonly known as 1564 Park

Road SE, Atlanta, GA 30315 (the "Property").

        12.      English, on her own or as an agent of E.S. Real Estate, provided Lima

One with a Purchase Sale Agreement dated October 15, 2017 between Ruth

Fermino and Wholesale Listings Co Ltd (the "Borrower"). Exhibit A.

        13.      English stated that she represented the Borrower.

        14.      English, on her own or as an agent of E.S. Real Estate, sent Lima One

a HUD Statement allegedly showing how funds would be disbursed after the

Borrower purchased the Property. Exhibit B.

         15.     English told Lima One that the Borrower intended to immediately sell

the Property to ESRG Georgia Group I ("ESRG") on the same date the Borrower

purchased it.

         16.      English, on her own or as an agent of E.S. Real Estate, sent Lima One

 a HUD Statement allegedly showing the Borrower selling the Property to ESRG

 and repaying Lima One the total amount it was owed of $255,774.57. Exhibit C.

         17.      The Borrower chose Integrity as its title company to close the real

 estate transactions.




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       18.     Integrity provided a Certificate of Liability Insurance regarding its

errors and omissions policy prior to closing.

       19.      Lima One does not close these types of transactions or wire funds to

the title company until it receives confirmation that the second purchaser's funds

are received by the title company and are being held in escrow.

       20.      Thomas sent an e-mail to Lima One on January 4, 2018 confirming

Integrity was in receipt of the funds from ESRG to purchase the Property from the

Borrower.

        21.      On January 8, 2018, Lima One wired $251,375.50 to Integrity through

a JPMorgan Chase account to fund the Borrower's purchase ofthe Property.

        22.      Pursuant to its agreement with English and E.S. Real Estate, Lima

 One was to receive $255,774.57 within 24 hours ofthe initial wire transfer.

        23.      English refused to pay Lima One what it was owed under the

 agreement, instead feigning ignorance.

         24.     Lima One attempted to file a claim against Integrity's alleged errors

 and omissions insurance, but no policy exists.

         25.      On or about March 7, 2018, English mailed a check to Lima One

 through the United States Postal Service.




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       26.      English held the check out to be payment in full of the amounts owed

to Lima One.

       27.      The check was returned to Lima One's bank due to insufficient funds

in the drawer's account.

        28.      On March 21, 2018, English wired the sum of $51,370.00 to Lima

One claiming once she received confirmation of those funds being received that

she would pay the remainder through a second wire transaction.

        29.      On May 7,2018, English wired the sum of $50,000.00 to Lima One as

partial payment on the amount outstanding.

        30.      Lima One has not received the balance ofthe outstanding obligation.

        31.      Lima One assigned its rights to any cause of action arising from this

transaction to Plaintiff in an Assignment dated August 21, 2018 and attached

hereto as Exhibit D.

                 COUNT I — FRAUDULENT MISREPRESENTATION

         32.      Plaintiff incorporates the allegations set forth above by reference, with

the same force and effect as if fully repeated.

         33.      As    described    above,    English    made     numerous     fraudulent

 misrepresentations to Lima One.

         34.      English claimed that she represented the Borrower.

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       35.      English claimed the Borrower was going to purchase the Property and

then immediately sell it to ESRG.

       36.      English claimed that Simpson would execute documents on behalf of

the Borrower to close the transaction.

       37.      English's claims were false because the Borrower was a sham

company set up by Simpson.

       38.      Upon information and belief, Simpson is a paralegal employed by

English.

       39.       English knew that her representations were false at the time they were

made.

        40.      English made these misrepresentations intending that Lima One rely

on them.

        41.      Lima One reasonably relied on these misrepresentations.

        42.      In reliance upon the misrepresentations, Lima One has suffered

damages of not less than $152,404.57 plus attorney fees and costs.

        43.      Thomas falsely claimed that Integrity was in possession of the ESRG

funds necessary to repay Lima One.

        44.      Thomas falsely claimed that Integrity had insurance to cover such

losses.

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       45.      Thomas knew when she made the claims that they were false.

       46.      Thomas made the misrepresentations intending that Lima One would

rely on them.

        47.      Lima One did in fact rely on the misrepresentations when it wired the

funds to Integrity.

        48.      Due to Thomas' misrepresentations, Lima One has suffered damages

of not less than $152,404.57 plus attorney fees and costs.

        WHEREFORE, Plaintiff Lima One Capital Special Servicing, Inc.

respectfully requests that this Honorable Court enter a judgment in its favor and

against Defendants E.S. Real Estate Consortium, Corp., Consortium Title, LLC,

Integrity Settlement Solutions, LLC, Aneaka English, Coleen Thomas, and Casita

Simpson, jointly and severally, in the amount of $152,404.57 plus attorney fees

and costs that continue to accrue.

                   COUNT II — CONSPIRACY TO COMMIT FRAUD

         49.      Plaintiff incorporates the allegations set forth above by reference, with

the same force and effect as if fully repeated.

         50.      As described above, the Defendants have perpetrated a fraud against

 Lima One.




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       51.      The Defendants' individual actions, working in concert, created a plan

to defraud Lima One.

        52.      English represented to Lima One that she had a purchaser for the

Property who would then immediately sell the property to a third party.

        53.      Simpson represented herself as the Borrower's authorized agent who

was going to purchase the Property.

        54.      Thomas served as the conduit to obtain the funds by misrepresenting

to Lima One that Integrity was in possession of ESRG's funds to purchase the

Property and repay Lima One.

        55.      Through these actions and those previously discussed above, the

Defendants acted in concert to defraud Lima One.

         56.     The Defendants stole $255,774.57 from Lima One through the

conspiracy.

         WHEREFORE, Plaintiff Lima One Capital Special Servicing, Inc.

respectfully requests that this Honorable Court enter a judgment in its favor and

 against Defendants E.S. Real Estate Consortium, Corp., Consortium Title, LLC,

Integrity Settlement Solutions, LLC, Aneaka English, Coleen Thomas, and Casita

 Simpson, jointly and severally, in the amount of $152,404.57 plus attorney fees

 and costs that continue to accrue.

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                        COUNT III — UNJUST ENRICHMENT

        57.     Plaintiff incorporates the allegations set forth above by reference, with

the same force and effect as if fully repeated.

        58.      As described above, Lima One wired $251,375.50 to Integrity in

relation to the fraudulent closing.

        59.      Lima One expected payment in return of $255,774.57 based on the

parties' agreement.

        60.      E.S. Real Estate, Consortium, Integrity, English, Simpson and

Thomas have received an unjust benefit at the expense of Lima One based on their

conduct.

        61.      It would be unjust for the Defendants to retain the benefit.

         WHEREFORE, Plaintiff Lima One Capital Special Servicing, Inc.

respectfully requests that this Honorable Court enter a judgment in its favor and

against Defendants E.S. Real Estate Consortium, Corp., Consortium Title, LLC,

Integrity Settlement Solutions, LLC, Aneaka English, Coleen Thomas, and Casita

 Simpson, jointly and severally, in the amount of $152,404.57 plus attorney fees

 and costs that continue to accrue.




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           COUNT IV — CIVIL RICO PURSUANT TO 18 U.S.C. 1964

        62.      Plaintiff incorporates the allegations set forth above by reference, with

the same force and effect as if fully repeated.

        63.      Defendants by virtue of their agency relationships with each other

formed an enterprise (the "Enterprise).

        64.      Through the Enterprise, Defendants engaged in racketeering activity

to wit wire fraud in violation of 18 U.S.C. § 1343 and mail fraud in violation of 18

U.S.C. § 1341.

        65.      Violations of 18 U.S.C. § 1341 and 1343 are each a "racketeering

activity" as that term is defined in 18 U.S.C. § 1961(1).

        66.      The Defendants received an economic benefit through the Enterprise.

         67.      The conduct alleged in this complaint constitutes a "pattern of

racketeering activity," as that term is defined in 18 U.S.C. § 1961(5) as Lima One

has alleged two acts that constitute racketeering activity, specifically violations of

18 U.S.C. § 1341 and § 1343, that occurred after the enactment of the RICO Act

and these activities occurred within the last 10 years.

         68.      English has committed mail and/or wire fraud on at least two previous

 occasions against two other victims, and there is a serious threat that she will

 continue her criminal conduct beyond the instances in this complaint.

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       69.      Simpson and Thomas aided and abetted English in engaging in

racketeering behavior by setting up sham companies, drafting fake closing

documents for the sale of the Property, and misrepresenting that they were ready,

willing and able to fund the sale as agreed.

       70.      The Enterprise will continue to operate and defraud consumers and

businesses alike through an ongoing Ponzi scheme if not stopped by the Court.

       71.      As a direct and proximate cause of Defendants' racketeering

activities, Plaintiff has suffered economic damages and it requests treble damages

and reasonable attorney fees pursuant to 18 U.S.C. § 1964(c).

        WHEREFORE, Lima One Capital Special Servicing, Inc. respectfully

requests that this Honorable Court enter a judgment in its favor and against

Defendants E.S. Real Estate Consortium, Corp., Consortium Title, LLC, Integrity

Settlement Solutions, LLC, Aneaka English, Coleen Thomas, and Casita Simpson,

jointly and severally, in the amount of $463,213.71 plus attorney fees and costs

that continue to accrue.

        Respectfully submitted this 28th day of August, 2018.



                               [Intentionally left blank]

                             [Signature onfollowing page]


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                                           HAWKINS PARNELL
                                              THACKSTON & YOUNG LLP

                                           /s/Ronald G. Polly, Jr.
                                           Ronald G.Polly, Jr.
                                           Georgia Bar No. 583264
                                           rpolly@hptylaw.com
                                           303 Peachtree Street, NE
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                                           Bloomfield Hills, MI 48304
                                           Telephone: (810)342-7007
                                           Facsimile: (248)901-4040

                                           Attorneysfor Plaintiff'




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            Exhibit "A"
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                         CONTRACT FOR SALE OF REAL ESTATE




This is a CONTRACT between Ruth Fermino (hereinafter Seller or Sellers) and Wholesale
Listings Co Ltd.(hereinafter Buyer or Buyers), dated this 15th day of October 2017.

Be it known to all that in consideration ofthe mutual covenants and agreements contained in this
Contract as written and no other documents, the Seller agrees to sell to Buyer(s) and Buyer(s)
agree to purchase from the Seller(s) all the lands and premises situated in Dekalb County, State of
Georgia, described in the following section:

                               1564 Park Rd SF, Atlanta. GA 30315

for the sum of $250,500.00 Two Hundred Fifty Thousand Five Hundred 00/100 Dollars, known
as the Purchase Price.

Towards that Purchase Price, $3,000.00, Three Thousand 00/100 Dollars has paid on the
execution of this Contract and the receipt of which is hereby acknowledged by Sellers, and the
remained of the Purchase Price is to be paid to the order of the seller at the times and in the
amounts as described in the following section:

Remainder ofPurchase Price payable as follows: Cash at Closing
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Buyer(s)'s Right to Possession

The Buyer(s) shall be entitled to possession of the lands on October 31, 2017, and may retain such
possession so long as Buyer(s) is not in default under the terms of this Contract.

Buyer(s) Duty to prevent waste, prevent encumbrances.

Buyer(s) agree that at all times Buyer(s) will keep the premises and buildings(now or hereafter
erected) n good condition and repair and will not pennit any waste or strip of the land or premises,
that the Buyer will keep the premises free from construction and all other liens and same the
Seller(s) harmless from such liens and reimburse Seller(s) all costa and attorneys's fees incurred by
Seller(s) in defending against such liens; that Buyer(s) will pay all taxes hereafter levied against the
property, as well as all water service rents, public charges and municipal liens which hereafter
lawfully may be imposed upon the premises, all promptly before the same or any party thereof
become past due and delinquent.


Buyer(s)Duty to provide insurance.

At Buyer(s)'s expense, Buyer(s) will insure and keep insured all buildings now or hereafter erected
on the premises against loss or damage by fire in an amount of not less than $            in a company
or companies satisfactory to the Seller(s),specifically naming seller(s) as an additional insured,
with losses payable first to the Seller(s) and then to the Buyer(s) as their respective interest may
appear and all policies ofinsurance shall be delivered to the Seiler(s) as soon as insured.

Seller(s)'s rights to cure defects without waiver of breach ofcontract.

Ifthe Buyer(s)fail to pay any liens, costs, water rents, taxes or charges, the Seller(s) may do so
and any payment so made shall be added to and become part ofthe debt secured by the Contract
and shall bear interest at the above stated rate per annum, without waiver, however,on any right
arising to the Seller(s)for Buyer(s)'s breach on contract.

 Seller(s)'s Obligation to Provide Marketable Title
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The Seller(s) agrees to furnish within 15 days ofthe date ofthe Contract, at Seller(Os
                                                                                           expense a
title insurance policies insuring in an amount equal to the purchase price, narketable title in and
to the promises in the Seller(s)on or subsequent to the date ofthis Contract and further,save
and except the moat Tainted exceptions and the building or other restrictions and easements now
ofrecord,ifany. Seller(s)also agrees that when the purchase price is fully paid and upon request
and upon surrender to this Contract, Seller(s) will deliver a good arid sufficient deed conveying
the premises in fee simple until the Buyer(s),Buyer(s)'s heirs, assigns, free and clear of
encumbrances as ofthe date herein identified and fee and clear ofall encumbrances that date
placed, permitted or arising by,through or under the Sellers(s), except the easements,
restrictions and the taxes, municipal liens, water rents and public charges as assumed by the
Buyer(s)and further excepting all liens and encumbrances created by the Buyer(s)or Buyer(s)'s
assigns.

Time is ofthe essence

It is further understood and agreed between the parties that time is ofthe essence

in this Contact,and should the Buyer(s)fail to make the payments as required,or any ofthem,
punctually within 20 days ofthe time limited therefor, or failure to keep any of its obligations
under this Contract, then the Seller(s) shall have the following rights and options:

(1)to declare the contract cancelled for default and thus null and void and to declare the
Buyer(s)'s rights forfeited and the debt extinguished, and to retain sums previously paid under this
Contract,subject to the Seller(s)complying with all applicable law pertaining to the exercise of
this remedy,including ORS 93.905,et seq.,or successor statutes;

(2)to declare the whole unpaid principal balance ofthe purchase price with the interestthereon at
once due and payable;and/or

(3)to foreclose this Contract by suit in equity.

In any ofsuch case, all rights and interest created or then existing in favor ofthe Buyer(sa)as
againSt the Seller(s) hall utterly cease and the right to possession ofthe premises described above
and all other rights acquired by the Buyer(s) under this Contract revert to an revert in the Seller(s)
without an act ofre-entry,or any other act ofthe seller to be performed and without any right of
the Buyer(s)to rearm,reclaim or seek compensation ofmonies paid on the account ofthe
purchase un the property as absolutely,fidly and completely as ifthis contract and such payment s
had never been made,and in case ofsuch default all payment previously made on this contract are
to be retained by and belong to the seller as the agreed and reasonable rent ofthe premises up to
the time ofsuch.default and the Seller(s)in case od such default,shall have right immediately,or
at any time thereafter,to enter upon the land, without process oflaw, and take immediate
possession thereof,together yirth all the improvements arid appurtenances thereto on thereto
belonging.

Buyer(s)further agrees that Seller(s)'s failure to at any time require performance by Buyer(s)of
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     any provision shall in no way affect the Seller(s)'s right to enforce the same,
                                                                                     nor shall any waiver
     by the Seller(s)ofany breach of any provision bye a waiver or any succeedi breach
                                                                                    ng         ofany such
     provision,or a waiver ofthe provision itself.

     Seller(s), Seller(sys agents,and the holder ofany existing encumbrance to which the lands and
     premises are subject may enter upon the lands and premises at reasonable times, upon reasonable
     prior notice, for the purpose in inspecting the property.

    In case suit or action is instituted to foreclose this Contract or t enforce any provisio
                                                                                              n thereof, the
    losing party in any suit or action shall pay the reasonable attorney's fees to be fixed
                                                                                            by the trial
    court in favor ofthe prevailing party,and if any appeal is take from the decision of the trial court,
    such further sum as may be fixed by the appellate court as the prevailing party's reasonabl
                                                                                                   e
    attorney's fees and costs in the appellate court.

    In construing this CONTRACT,where the context requires, the singular includes
                                                                                     the plural,
    grammatical changes shall be made so that the deed shall apply equally to corporati and
                                                                                       ons     to
    individuals,and handwritten or typed changes control the printed text.


    This Contract shall bind and inure to the benefit of, as the circumstances. may require,
                                                                                             not only
    the immediate parties hereto, but also their respective heirs, assigns,executors, administr
                                                                                                ators,
    personal representatives and successors in interest as well


    In witness whereof,the Buyer(s)and Seller(s)have executed this instrument in duplicate
                                                                                             this 5th
    day of October,year 2017,and if any ofthe undersigned ins a corporation, it has caused
                                                                                             its name
    to be signed by an officer or other person duly authorized to do so by action ofthe board of
    directors.

(Purchavv:                11,"""S.ArV,
                                     ..0.11111
                                                           Date:
         baser:                                            Date:

    Seller: 11../Ork                                       Date:

    Seller                                                 Date:

    Contingency release clause
    If you have not specified a deadline for your contingencies,such as S or 10 days for a professio
                                                                                                     nal
    inspection,or 30 days for mortgage approval, you can expect a well-advised home seller
                                                                                              to set a
    time limit on your contingencies. Or, if you make your home purchase contract contingen
                                                                                              t on the
    sale ofyour current residence(which few home sellers will accept),expect the seller
                                                                                         to
    counteroffer, giving you 24 or 48 hours after an acceptable second purchase offer is received from
    a second buyer to remove your contingency clause for sale of your old home. This is
                                                                                          reasonable
    and fair to both buyer and seller.
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 An Asiswrlsitm-
 Some home sellers insiston selling their homes"as is." That means the seller and realty agent
 make no representations or warranties and won't pay for any repairs. However,the seller and
 realty agents must dill disclose any known borne defects to the buyer. Avoid agreeing to an "as
 is clause if you want the seller to pay for mails ofknown serious defects.

 When describing the purchase terms,don't specify "All cash to seller" if you require a new
 mortgage to provide that cash.Be sure your offer contains a clause making your offer contingent
 on approval ofthe mortgage.Even if you got preapproved for a mortgage, the lender can avoid
 making the loan by low-balling the appraisal.

 The mortgage you want to obtain should be specified with detail, such as a new 30-year fixed
 interest rate mortgage ofat least $100,000 with interest not exceeding 8 percent, a loan fee of not
 more than 2 percent,and a monthly payment not exceeding $733.76. If you want the seller to help
 finance the side, by carrying back either a first or second mortgage, here is where you specify the
 terms you want.

 Personal property
 Ifyou want any personal property included in the home sale,such as the kitchen appliances,be
 sure to specifically itemize them in your purchase offer. For example,specify the "General Electric
 side-by-side refrigerator with electronic monitor now on the premises." This stops the seller from
 substituting inferior replacement personal property at the last minute.

 Time for acceptance of your purchase offer
 Your purchase offer should contain a short time for the seller's acceptance. Twenty-four hours is
 usually sufficient unless the seller is out oftown. Don't make your offer valid for a long time
 period because then it will be "shopped" by the realty agentto see ifa better offer from another
 buyer can be obtained.

 •A professional inspection
 The buyer should pay for the professional inspection because it's for the buyer's benefit.
 Accompany the professional inspector. When a defect discovered is serious,such as a cracked
 chimney,expect the seller to pay forthe repair. Ifthe seller refuses to pay for major necessary
 repairs, disapprove the report and get your good faith deposit refunded.
 •Seller's disclosure of known defects
 Many states, led by California and Maine,now require home sellers and their realty agents to
 disclose in writing any known defects in the residence. Ifyour state requires seller disclosure of
 defects,, your purchase offer should be contingent upon your approval ofthe seller's disclosure.
 *Liquidated damages clause
 This clause specifies truudmwn damages a defaulting buyer must pay to the home seller if the
 buyer doesn't complete the purchase as agreed. Some state laws set maximum liquidated damages.
 Asa buyer, you may want to agree to liquidated damages so you can't be held liable for more than
 the specified sum if you default.
 •Arbitration ofdisputes clause
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reoomniendation is don't agree to arbitration, 1f a dispt.tte ariss later, at that time you oandecide
   yoti prefer te p arbitration fu' mediatiort radier than become involvei in a lawsuit
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 Although the pro.fesional Irepeezion contingenc,,, etause is suffloient, you Tnht want toski
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 This tr,ives you 3"free look" white your anotrict,. CPAor othez trurs.t.ed business advisot zeviews
 the agnx:rnent.

             Purehaser's



 :;ii Application. If an amount is specified iTs!.TrViII, PUrChaSCr iJ (prompfly after this
 Contra* is signed)USC best effortste. obtain 2 first tnortf..a?.e on the Preznises n that attiount and
 On the tems speciftedi,section




  3.02 Alternate Fittaneing.. if Purehaser ii unable to oatain stleh commitment and gives nvtict
  thereof to Seller by the time sp.eelfied in or deterrnined rmsuarrt to stinn D-3-j, Se!ter ma:,/
  within 21 days after the effeetive date of such notice. b Purehaser(a) proeure for Purcheser a
  cotronitment from an irtstitutional lender ferr a fits'r mortgage loan meeting such terms or(b-i
  aecept a Purehase tyloney Mortgage on such terros. If Seiler does se s.'ithirt such additiona‘ 2
   time period, item VIII and section 0-3 tvill no longer anply; ether‘vise this Contract wiUtenninate
   and s.ection i 7„0:-t wiI apply.

           'fender that makes any such loen is referted te hein as"Nrehaser's Lender.'



    A.rtiele Ål-, Titte Insurance and Condtion of"rifle



    4.01 Tirle Coramittnent.Ptomptly after the Exet:lit:son Date l'urc.haser           'irectly or
    tbrouh Purchaser's Lendet') for issuance by 'fitle Insurer of a zormnionent fnr an r.)svner's tide
    insunince policy,

          commitmoilt is (it to be in the arnotuit ofthe .Purchase Price..(H)to include ta zoni ng
             ,:',nt that insures Purehaser /hat the existing structures on,and the present twe of: the
    endorsern,
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 Real Estate do not violate any zoning laws; regulations and ordinances,(iii) to include extended
 coverage over general exceptions,and (iv)to cover title to the Real Estate on or after the Date of
 Excvnion.

b.On receipt tithe commitment Purchaser will promptly cause a copy ofthe commitment to be
delivered to Seller's attorney. Seller will use best efforts to cause the commitment to confirm to
the condition of title specified in Section 4.02 by the earlier of(i)63 days after Seller receives a
copy of the commitment and (ii) the expiration date of any written loan commitment of
Purchaser's Lender that was delivered to Purchaser prior to the scheduled date of Closing.

 c.Selier will pay for the. title insurance,.COITIlnittnent ;arid     owner's tide policy.



 4.02 Condition ofTitle. Seller will use best efforts to convey, and Purchaser will accept if ten
dered,fee simple title to the Real Estate in accordance with the tens of this Contract, subject
only to(a)the matters set forth in Schedule 13 ("Permitted Exceptions"),(h) matters that are
insured against pursuant to section 15.04-b, and (c)any other matters as to which both (i) Title
'insurer is willing, without additional premium. to insure by endorsement and (ii) Purchaser's
Lender, Hasty, will accept,except that ifsuch acceptance .by Purchaser's Lender is unreasonably
withheld or delayed. the acce ptance will be deemed to have been given.



Article S. Inspection, Due Diligence and Termination



5.01 information Regarding the Premises. Within ten days from the Date of Execution Seller will
make available to Purchaser for inspection and copying(a)the documents that fix all the terms of
any Leases and of any Tenancies,(b)the documents that are referred to in sections 8.04., 8.06,
8.07 and 8.08, and (c)such building plans and specifications, and such operating statements an d
balance sheets for the current fiscal year and for the immediately preceding fiscal year, as are in
the possession or control of Seiler and relate to the Premises.



5.02 Inspection of the Premises. Within 35 days after the Date of Execution Purchaser may
inspect the Premises and obtain soil tests and an environmental audit of the Premiss, ail subject
to the right of any tenants. Seller will use best efforts to obtain any necessary consents from
tenants.



5.03 Purchaser's Electi on to Terminate. Purchaser may elect to terminate this Contract by notice
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to Seller at any time prior to five days after expiration of the time period that is provided for
                                                                                                  by
section 5.02 if in Purchaser's absolute discretion, which is not subject to question or review for
any reason,(a)the material that is described in section 5.01 has not been made available
                                                                                             to
Purchaser as called for by that section,(b)Purchaser has not been able to inspect the P Muses
and obtain soil tests and an environmental audit ofthe Premises, or(c)Purchaser is dissatisfied
with any matters disclosed by such documents, inspection or tests. If Purchaser so elects to
terminate this Contract, section 17.03 will apply.



5.04 Acceptance ofthe Premises. If Purchaser does not elect to terminate this Contract pursuant
to section 5.03 and Purchaser is otherwise required to proceed hereunder, Seller will deliver
                                                                                              (and
Purchaser will accept)the Premises in substantially the same condition at closing as on the Date
                                                                                                 of
Execution, except for ordinary wear and tear, and matters described in Article 11, but Purchaser
will have the benefit ofany representations and warranties by Seller relating to the Premises.




Purc                                                   Date:

Furth                                                  Date:

Seller:                                                Date:

Seller:                                                Date:
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                          CONTRACT FOR SALE OF REAL ESTATE




This is a CONTRACT between Wholesale Listings Ltd Co (hereinafter Seller or Sellers) and
ESRG Georgia Group I (hereinafter Buyer or Buyers), dated this 18th day of October 2017.

Be it known to all that in consideration of the mutual covenants and agreements contained in this
Contract as written and no other documents, the Seller agrees to sell to Buyer(s) and Buyer(s)
agree to purchase from the Seller(s) all the lands and premises situated in Dekalb County, State of
Georgia, described in the following section:

                               1564 Park Rd SE Atlanta, GA 30315

for the sum of$300,000.00 Three Hundred Thousand 00/100 Dollars, known as the Purchase
Price.

Towards that Purchase Price, $3,000.00, Three Thousand 00/100 Dollars has paid on the
execution of this Contract and the receipt of which is hereby acknowledged by Sellers, and the
remained of the Purchase Price is to be paid to the order ofthe seller at the times and in the
amounts as described in the following section:

Remainder ofPurchase Price payable as follows: Cash at Closing
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Buyer(s)'s Rightto Possession

The Buyer(s) shall be entitled to possession of the lands on October 31, 2017, and may retain such
possession so long as Buyer(s)is not in default under the terms of this Contract.

Buyer(s) Duty to prevent waste, prevent encumbrances.

Buyer(s) agree that at all times Buyer(s) will keep the premises and buildings(now or hereafter
erected)n good condition and repair and will not permit any waste or strip ofthe land or premises,
that the Buyer will keep the premises free from construction and all other liens and same the
Sellet(s)harmlessfrom such liens and reimburse Seller(s)all costa and attomeys's fees incurred by
Seller(s)in defending against such liens; that Buyer(s) will pay all taxes hereafter levied against the
property,as well as all water service rents, public charges and municipal liens which hereafter
lawfully may be imposed upon the premises, all promptly before the same or any party thereof
become past due and delinquent.


Buyer(s) Duty to provide insurer

At Buyer(s)'s expense,Buyer(s) will insure and keep insured all buildings now or hereafter erected
on the premises against loss or damage by fire in an amount of not less than $                 in a company
or companies satisfactory to  the Seller(s), specifically naming   seller(s) as an  additional  insured,
with losses payable first to the Seller(s) and  then to the Buyer(s)  as their  ice,•  live  interest may
appear and all policies of insurance  shall be  delivered to the Seiler(s) as soon    as insured.

 Seller(s)'s rights to cure defects without waiver of breach ofcontract.

 Ifthe Buyer(s)fail to pay any liens, costs, water rents, taxes or charges,the Seller(s) may do so
 and any payment so made shall be added to and become part ofthe debt secured by the Contract
 and shall bear interest at the above stated rate per annum, without waiver, however,on any right
 arising to the Seller(s)for Buyer(sYs breach on contract.

 Seller(s)'s Obligation to Provide Marketable Title
  Case 1:18-cv-04070-SDG Document 11 Filed 11/02/18 Page 41 of 59
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The SeBetts) agrees to furnish within 15 days ofthe date ofthe Contract, at Seller(s)'s expense a
title insurance policies insuring in an amount equal to the purchase price, marketable title in and
to the promises in the Seller(s)on or subsequent to the date of this Contract and further, save
and except the usual printed exceptions and the building or other restrictions and easements now
of record, if any. Seller(s) also agrees that when the purchase price is fully paid and upon request
and upon surrender to this Contract, Seller(s) will deliver a good and sufficient deed conveying
the premises in fee simple until the Buyer(s), Buyer(s)'s heirs, assigns, free and clear of
encumbrances as of the date herein identified and fee and clear of all encumbrances that date
placed, permitted or arising by,through or under the Sellers(s), except the easements,
restrictions and the taxes, municipal liens, water rents and public charges as assumed by the
Buyer(s)and further excepting all liens and encumbrances created by the Buyer(s) or Buyer(s)'s
assigns.

Time is ofthe

It is further understood and agreed between the parties that time is of the essence

in this Contact,and should the Buyer(s) fail to make the payments as required, or any ofthem,
punctually within 20 days ofthe time limited therefor, or failure to keep any of its obligations
under this Contract, then the Seller(s) shall have the following rights and options:

(1)to declare the contract cancelled for default and thus null and void and to declare the
 Buyer(s)'s rights forfeited and the debt extinguished, and to retain sums previously paid under this
Contract, subject to the Seller(s)complying with all applicable law pertaining to the exercise of
this remedy, including ORS 93.905,et seq., or successor statutes;

(2)to declare the whole unpaid principal balance of the purchase price with the interest thereon at
once due and payable; and/or

(3)to foreclose this Contract by suit in equity.

in any ofsuch case, all rights and interest created or then existing in favor ofthe Buyer(sa)as
against the Seller(s) hall utterly cease and the right to possession ofthe premises described above
and all other rights acquired by the Buyer(s) under this Contract revert to an revest in the Seller(s)
without an act ofre-entry, or any other act of the seller to be performed and without any right of
the Buyer(s)to return, reclaim or seek compensation of monies paid on the account ofthe
purchase un the property as absolutely, fully and completely as ifthis contract and such payment s
had never been made,and in case ofsuch default all payment previously made on this contract are
to be retained by and belong to the seller as the agreed and reasonable rent ofthe premises up to
the time of such default and the Seller(s) in case od such default, shall have right immediately, or
at any time thereafter, to enter upon the land, without process of law, and take immediate
possession thereof together with all the improvements and appurtenances thereto on thereto
belonging.

 Buyer(s) further agrees that Seller(s)'s failure to at any time require perfonnance by Buyer(s of
Case 1:18-cv-04070-SDG Document 11 Filed 11/02/18 Page 42 of 59
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  any provision shall in no way affect the Seller(s)'s right to enforce the same,nor shall any waiver
  by the Seller(s) of any breach ofany provision bye a waiver or any succeeding breach
                                                                                           of any such
  provision, or a waiver ofthe provision itself.

 Seller(s), Seller(s)'s agents, and the holder of any existing encumbrance to which the lands and
 premises are subject may enter upon the lands and premises at reasonable times, upon reasonabl
                                                                                                  e
 prior notice, for the purpose in inspecting the property.

 In case suit or action is instituted to foreclose this Contract or t enforce any provision thereof,
                                                                                                      the
 losing party in any suit or action shall pay the reasonable attorney's fees to be fixed by the trial
 court in favor ofthe prevailing party, and if any appeal is take from the decision ofthe trial court,
 such further sum as may be fixed by the appellate court as the prevailing party's reasonable
 attorney's fees and costs in the appellate court.

 In construing this CONTRACT, where the context requires, the singular includes the plural,
 grammatical changes shall be made so that the deed shall apply equally to corporations and to
 individual, and handwritten or typed changes control the printed text.


 This Contract shall bind and inure to the benefit of, as the circumstances, may require, not only
 the immediate parties hereto, but also their respective heirs, assigns, executors, administrators,
 personal representatives and successors in interest as well


 In witness whereof,the Buyer(s) and Seller(s) have executed this instrument in duplicate this
                                                                                               5th
 day ofOctober, year 2017,and ifl#1y-efthe undersigned ins a corporation, it has caused its name
 to be signed by an officer or oth person duly authorized to do so by action of the board
                                                                                          of
 directors.

                                                        Date:to -201 7-

                                                        Date:

                                                        Date:

                                                        Date:

Contingency release clause
if you have not specified a deadline for your contingencies,such as 5 or 10 days for a profession
                                                                                                  al
inspection, or 30 days for mortgage approval, you can expect a well-advised home seller to set a
time limit on your contingencies. Or,ifyou make your home purchase contract contingent on the
sale of your current residence(which few home sellers will accept), expect the seller to
counteroffer, giving you 24 or 48 hours after an acceptable second purchase offer is received from
a second buyer to remove your contingency clause for sale of your old home. This is reasonable
and fair to both buyer and seller.
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An "As Is" clause
Some home sellers insist on Selling their homes"as is." That means the seller and realty agent
make no representations or warranties and won't pay for any repairs. However,the seller and
realty agents must still disclose any known home defects to the buyer. Avoid agreeing to an "as
is clause if you want the seller to pay for repairs ofknown serious defects.


When describing the purchase terms,don't specify "All cash to seller" if you require a new
mortgage to provide that cash. Be sure your offer contains a clause making your offer contingent
on approval ofthe mortgage. Even if you got preapproved for a mortgage, the lender can avoid
making the loan by low-balling the appraisal.

The mortgage you want to obtain should be specified with detail, such as a new 30-year fixed
interest rate mortgage ofat least $100,000 with interest not exceeding 8 percent, a loan fee of not
more than 2 percent, and a monthly payment not exceeding $733.76. If you want the seller to help
finance the sale, by carrying back either a first or second mortgage, here is where you specify the
terms you want.

Personal property
Ifyou want any personal property included in the home sale, such as the kitchen appliances, be
sure to specifically itemizethem in your purchase offer. For example,specify the "General Electric
side-by-side refrigerator with electronic monitor now on the premises!' This stops the seller from
substituting inferior replacement personal property at the last minute.

Time for acceptance of your purchase offer
Your purchase offer should contain a short time for the seller's acceptance. Twenty-four hours is
usually sufficient unless the seller is out oftown. Don't make your offer valid for a long time
period because then it will be"shopped" by the realty agentto see if a better offer from another
buyer can be obtained.

    professional inspection
The buyer should pay for the professional inspection because it's for the buyer's benefit.
Accompany the professional inspector. When a defect discovered is serious,such as a cracked
chimney,expect the seller to pay for the repair. Ifthe seller refuses to pay for major necessary
reparrsi,disapprove the report and get your good faith deposit refunded.
*Seller's disclosure ofknown defects
Many states,led by California and Maine,now require home sellers and their realty agents to
disclose in writing any knovvn defects in the residence. If your state tequites seller disclosure of
defects, your purchase offer should be contingent upon your approval ofthe seller's disclosure.
'Liquidated damages clause
This clause specifies MaXiMUITI damages a defaulting buyer must pay to the home seller ifthe
buyer doesn't complete the purchase as agreed.Some state taws set maximum liquidated damages.
As,a buyer, you may want to agree to liquidated damages so you can't be held liable for more than
the specified sum ifyou default
•Arbitration ofdisputes clause
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Most printed real estate purchase contracts now contain an optional clause whereby the buyer and
seller agree to arbitrate disputes. Misguided real estate agents, blindly following recommendations
from their real estate trade groups, often suggest signing the arbitration clause. I strongly
disagree. Too many uncontrollable things can go wrong with arbitration of disputes. My
recommendation is don't agree to arbitration. Ifa dispute arises later, at that time you can decide
if you prefer to go to arbitration or mediation rather than become involved in a lawsuit.
•An all-inclusive weasel clause
Although the professional inspection contingency clause is sufficient, you might want to also
include an all-inclusive weasel clause such as "This purchase offer is contingent upon buyer's
attorney satisfactory inspection and approval ofthe purchase contract within 10 business days."
This gives you a "free look" while your attorney, CPA or other trusted business advisor reviews
the agreement.

Article 3. Purchaser's Mortgage Contingency



3.01 Application. If an amount is specified at item VIII, Purchaser will (promptly after this
Contract is signed) use best efforts to obtain a first mortgage on the Premises in that amount and
on the terms specified in section D-3.



3.02 Alternate Financing. If Purchaser is unable to obtain such commitment and gives notice
thereofto Seller by the time specified in or determined pursuant to section D-3-j, Seller may
within 21 days after the effective date ofsuch notice by Purchaser(a)procure for Purchaser a firm
commitment from an institutional lender for a first mortgage loan meeting such terms or(b)
accept a Purchase Money Mortgage on such terms. If Seller does so within such additional 21-day
time period, item VIII and section D-3 will no longer apply; otherwise this Contract will terminate
and section 1 7.03 will apply.

3.03 A lender that makes any such loan is referred to herein as "Purchaser's Lender."



Article 4.Title Insurance and Condition of Title



4.01 Title Commitmettt. Promptly after the Execution Date Purchaser will apply (directly or
through Purchasers Lender)for issuance by Title Insurer of a commitment for an owner's title
          policy.

a.The commitment is(i)to be in the amount ofthe Purchase Price,(ii)to include a zoni ng
endorsement that insures Purchaser that the existing structures on, and the present use of, the
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Real Estate do not violate any zoning laws, regulations and ordinances,(iii) to include extended
coverage over general exceptions, and (iv) to cover title to the Real Estate on or after the Date of
Execution.

b.On receipt ofthe commitment Purchaser will promptly cause a copy of the commitment to be
delivered to Seller's attorney. Seller will use best efforts to cause the commitment to conform to
the condition of title specified in Section 4.02 by the earlier of(1)63 days after Seller receives a
copy of the commitment and (ii) the expiration date of any written loan commitment of
Purchase?s Lender that was delivered to Purchaser prior to the scheduled date of Closing.

c.Seller will pay for the title insurance commitment and the resulting owners title policy.



4.02 Condition of Title. Seller will use best efforts to convey, and Purchaser will accept if ten
dered,fee simple title to the Real Estate in accordance with the terms of this Contract, subject
only to (a)the matters set forth in Schedule 13 ("Permitted Exceptions"),(b) matters that are
insured against pursuant to section 15.04-b, and (c)any other matters as to which both (i) Title
Insurer is willing, without additional premium,to insure by endorsement and (ii) Purchaser's
Lender, if any, will accept, except that if such acceptance by Purchaser's Lender is unreasonably
withheld or delayed, the acce ptance will be deemed to have been given.



Article 5.Inspection, Due Diligence and Termination



5.01 information Regarding the Premises. Within ten days from the Date of Execution Seller will
MaiCe available to Purchaser for inspection and copying(a)the documents that fix all the terms of
any Leases and of any Tenancies,(b)the documents that are referral to in sections 8.04, 8.00,
8.07 and 8.08, and(c)such building plans and specifications, and such operating statements an d
balance sheets for the current fiscal year and for the immediately preceding fiscal year, as are in
the possession or control of Seller and relate to the Pteinises.



5.02 Inspection ofthe Premises. Within 35 days after the Date of Execution Purchaser may
inspect the Premises and obtain soil tests and an environmental audit ofthe Premises, all subject
to the rights ofany tenants. Seller will use best efforts to obtain any necessary consents from
tenants.



5.03 Purchaser's Electi on to Terminate. Purchaser may elect to terminate this Contract by notice
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to Seller at any time prior to five days after expiration of the time period
                                                                             that is provided for by
section 5.02 ifin Purchases absolute discretion, which is not subject to question
                                                                                       or review for
any reason,(a)the material that is described in section 5.01 has not been made
                                                                                    available to
Purchaser as called for by that section,(b) Purchaser has not been able to inspect
                                                                                       the Premises
and obtain soil tests and an environmental audit ofthe Premises, or(c)Purchase
                                                                                     r is dissatisfied
with any matters disclosed by such documents, inspection or tests. If Purchase
                                                                                   r so elects to
ternrinate this Contract, section 17.03 will apply.



5.04 Acceptance ofthe PAemises. If Purchaser does not elect to terminat
                                                                          e this Contract pursuant
to section 5.03 and Purchaser is otherwise required to proceed hereunde
                                                                         r, Seller will deliver(and
Purchaser will accept)the Ptratises in substantially the same condition
                                                                        at closing as on the Date of
Execution, except for ordinary wear and tear, and matters described in Article
                                                                                 11, but Purchaser
will have the benefit ofany representations and warranties by Seller
                                                                     relating to the Premises.




                                                        Date:

                                                        Date:

                                                        Date:
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           Exhibit "B"
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                            Case 1:18-cv-04070-MLB Document 1-2 Filed 08/28/18 Page 2 of 5OMBApproval Ner 2502-0265
                            A. Settlement Statement(HUD-1)


B. Type of Loan

                                                                                    6. File No.                     7. Loan No.                    8. Mortgage Insurance Case Kb.
1. IED FHA                2.
                               I  I
                                      RHS            3.
                                                          I   I
                                                                   Conv. Unins.
                                                                                    GA-17-1808

4.        VA              5.   IJCony       Ins.

                                                                                                                                                 marked 1p.o.cr were paid outside
C Note:    This form Is furnished b give you a statement of actual settlemert costs. Amounts pald to and by the settlement agent are shown.Items
           the closing; thware shown here for informational purposes and ae not included in the totals.
                                                                                    E. Name &Address of Seiler.                                     F. Name &Address of Lender:
D. Name &Address cf Borrower.                                                                                                                       Lima One Capital
Wholesale Listings Co                                                               Ruth Fermino
1372 West Peachttee Street                                                          1564 Park Road Southeast
Atlanta, GA 30309                                                                   Atlanta, GA 30315
                                                                                     H. Settlement Agent                                            I. Settlentert Date:
G.Property Location:
                                                                                     Integrity Settlement Services                                  01/04/2018
1564 Park Road Southeast
                                                                                                                                                    Funding Date:
Atlanta, GA 30315
                                                                                                                                                    01104/2018
                                                                                     Place of Settlemert:
                                                                                     401 E Jackson St Suite 3300 Tampa FL                           Disbursement Date:
                                                                                     33602                                                          01/04/2018


J. Summary of Borrower's Transaction                                                               K. Summary of Seller's Transaction


100.GossAmourt Due from Borrower                                                                  400.Gross Amount Cue to Seiler
                                                                  1250,500.00                     401. Contract sales price                                     5250,500.00
101.Contract sales price
102. Personal property                                                                            402. Ftrsonal property
103.Settlemert charges to boncwer(line 1400)                      $875.50                         403.
104.                                                                                              404.
105.                                                                                              405.
Adjustmentforitems paid hiselerin adwnoe                                                          Adjustmentfor items paid b/selierin adwnoe
106.City/Town Taxes                                                                               406.Cibfrown Taxes
107.CountyTaxes                                                                                   407.County Taxes
108.Assessmerts                                                                                   408.Assess merts
1                                                                                                 409.
110.                                                                                              410.
                                                                                                  411.
112.                                                                                              412.
                                                                  $251,37530                      420.GossAmount Due to Seller                                  5250,500.00
120.CrossAmount Due from Borrower
200.Amount Paid by orin BehalfofSommer                                                            500.Reductions inAmourt Due to Seiler
201.Deposit                                                                                       501. Bross deposit gee instructioni
                                                                                                  502.Settlemert charges to seller(llne 1400)                   5625.00
202. Flintiest amourt of new loan(s)
203.Existing ban()taken subject b                                                                 503. Existing loan()taken subject b
204.                                                                                              504. Payoff of First Mortgage Loan
205.                                                                                              505. Payoff of Second Mortgage Loan
206.                                                                                               506.
207.                                                                                               507.
208.                                                                                               508.
209.                                                                                               509.
Acilustmerts foritems unpaid b/seller                                                              Adjustmerts for items unpaid la,seller
                                                                  $494.92                          510. City/Town Taxes to 11/08/2017                            $494.92
210.CitiTown Taxes to 11/08/2017
                                                                  $161.58                          511.County Taxes to 11/08/2017                                5161.58
21L County Taxes to 11/08/2017
212.Assessrnerts                                                                                   512.Assessmerts
 213.                                                                                              513.
 214.                                                                                              514.
 215.                                                                                              515.
 216.                                                                                              516.
 217.                                                                                              517.
 218.                                                                                              518.
 219.                                                                                              519.
 220.Total Paid by/for Borrower                                    50.00                            520.Total lieductionAmourt Due Seller                        $1,281.50
 300. Cash at Settlementfrom/to Borrower                                                            600.Cash at Skttlement to/from Seller
                                                                   $251.375.50                      601.Cross amourt due to seller(Iine 420)                     $250,500.00
 301.Cross amourt due from borrower(line 120)
                                                                                                    602.loss reductions in amouns due seller(8ne 520)            $1,281.50
 302.less motets paid baforbonower(line 220)                       $0.00
                                                                                                                                                                 $249,218.50
                                      To Borrower                  $251,375.50                      603.Cash            To              m Seller
 303.Cash:

                                                                                                                                    reporting the data This agency may not collect this
The Public I:tporting Baden for this collection d Information Is estimated at 35 minutes per response for collecting, reviewing,and
                                                                                                                                       is assured: this disclosure is mandatory.This Is
Information. andyou are not required to complete this form, units It displays a currently valid OMB control number. No confidentiality
designed tr provide the parties b a RESFP,covered transactionwith information during the settlement process.




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Division d commission(Sne 700)asel
701.8
702.8
703.Commission paid at settlement



801.arr origination chage                                                                                           (from GFE #1)
802.1bur credit or charge(noires)for the spedhc'detest rate diosen                                                   Mom GFE #2)
803.1buradjusted origination chages                                                                                 (from GFE #A)
804.Appralsal fee                                                                                                   (from GFE 03)
805.Credit teport                                                                                                   (from GFE #3)
806.Tax senior                                                                                                      (from GFE #3)
807.Rood certikation                                                                                                (from GFE #3)
808.
809.
810.
811.

901.CaNyInterest duetsfrom 11/08/2017 b 12/01/2017                                                                  (from GFE #10)
902.Volga*(nuance premium                                                                                            (from GFE #3)
903.tbmecrimer's insuente                                                                                           (from GFE 111)
904.

1001. httfal deposit br your   somutt                                                                                (from GFE 89)
1002.14arnemynertinsurance
1003. Mortgage insurance
1004. Ruyerlytaxes
1005.
1006.
1007.Aggregate Adjustmert50.00

 1101.Tide services and lender& title insurance                                                                      (from GFE #4) 5625.00
                                                                                                                                                8625.00
 1102.Settlement or closing fee to Integrity Settlement Services 625.00
 1103.Owned tltle insurance to Od Republic tadionalTide hwrance Company                                              (from GFE #5)
 1104.lender's tide insurance to Od Republic thtionalTitle Insurance Company
 1105. tendert title policylimit 5
 1106. Ownert title policylimit$
 1107.Agentt por on of the total de insurance premium to Integrity Settlement Service
 1108. Uncle          portion d the total title Insunnce premium to Old Republic National Title Insurance Company
 1109.
 1110.
 1111.

 1201.Gavertvnert mcontling chages                                                                                   (from GFE #7)
 1202. Deed $Mortgage 5 Release $to Fulton County Reaxding Cffice
 1203.Transier tams                                                                                                   (from GFE 08) 5250.50
 1204.CM/Countytax/stamps Deed $ Mortgage $
 1205.State tax/stamps Deed $250.50Mortgage $to Fulton County Recording Cence
 1206.

 1301. Tbquired services that you can shop br                                                                         (from GFE #6)
 1302.
 1303.
 1304.
 1305.
 1306.
 1307.
 1308.
 1309.
 1310.
                                                  ,ction)and 502.Section 10                                                           5875.50    5625.00
 1400.Total Settlement Charges(enter on lines 103.1




                                                                                         Page 2 or 3                                                       HUD-1
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                                                                                                                                                        rtri

ChargesThat Canny!Increase                                                                HUD-1 Une camber
Our origination chase                                                                     8801
Your credit orcharge(points)for the specific irterest rate chosen                         8802
Your adjusted origination chages                                                                                                              $0.00
Transfer taxes                                                                            11203                                                                                 $250.50



Government recording charges                                                              1201




Total
Increase behwen GFE and HUD-1 Chages

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                                           E               ,1,!•::.:.:1..i'ir.....i".r.:4.1i.:4igit.:Aliiit9i.K3.:242k.:5S.A4
                                                                                                                                                                   A                  itlr,    K.

Initial deposit bryouresaow                                                                1001
Daily interest charges                                                                     901
Homecwner's insurance                                                                      903
Tide services and !ended title insurance                                                   1101                                                                                 $625.00




 loan Terms

 Your initial loan amourt is
 Your loan term is
 Your initial irterest rate is
 Your Initial mord*amourt owed for prindpal,irterest,and my mortgage                                         includes
 insurance Is
                                                                                            Fn Principal
                                                                                            FN       Interest

                                                                                            ❑ Mortgage Insurance

 Canyourinterest rate rise?                                                                                   Yes, it can rise b a maximum .1              .The first cane will be on
                                                                                            I   X
                                                                                                I No,
                                                                                            and can champ again eery                months after             .Every change date, your interest rate can
                                                                                            Increase ordecrease by             .Over the life of the loan,your interest rate is guaranteed to never be
                                                                                            lower than            or higherthan
 Even If you male paymerts on time,canyourloan Wane rise                                              No, I       1 Yes, it can rise b a maximum d
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       lip       res
                  ietpaaxdrne
                           .          Insuranceca nyogrjorthlyamourt owed for
                            mnts onirthr                                                                               Yes, the first increase can be on           and the morthly amount owed can rise b
  principal,                                                                                I   XI    14°'
                                                                                                             .The maximum it can e'er rise to Is
 Does yourloan haw a plepayrnert penalty?                                                             No,              Yes, your maximum pepaymert penaltyls
                                                                                             X                     I
  Doessourloan have a balloon paymert?                                                      IXI            1 1 Yes, you have a balloon paymert of
                                                                                                       No, -                                                           due in             years on



  Total monthly amourtaxed induding escow account paymerts
                                                                                                       You                                               yo items, such as poperty taxes and homeowners
                                                                                                                                                     ent for
                                                                                                XI                         hawmust
                                                                                                             doInsurance. You  a paytt        Padi
                                                                                                                                      ese Items

                                                                                                       You have an additional morthly escrow payment of that results in a btal initial morthly amount
                                                                                                       owed of.This includes principal, iderest, ant mortgage insurance and an/ items cheded below:


                                                                                                 II     Propertytaxes                         ❑ Homeowners insurance

                                                                                                ❑ Flood insurance
                                                                                                                                              ❑




 Note: If you have any questions about the Srttlernert Charges and loan Terns listed on this form, please contact your tender.



See signature addendum




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 Signature Addendum



Wholesale Listings Co LLC,a Georgia Limited Liability Company

By:                                                                      Ruth Fermino                                                Date

      Casita Simpson, Manager                                 Date



The HUD-1 settlement statement which l have prepared is a true and accurate account of this transaction. l have caused or will cause the
funds to be disbursed in accordance with this statement


Settlement Agent                                                                                                                           Date




 Previous editions ae obsolete                                                                                                              HUD-1
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           Exhibit"C"
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                                                          OMBApproval No 2502-0265


                            A.    Settlement Statement(HUD-1)

B. Type of Loan


1.         FHA            2.        RHS              3.   n    Cony. Unins.
                                                                                    6. Rle No.
                                                                                     GA17-1808
                                                                                                                    7. loan No.                     8. Mortgage insurance Case No.



                          5.I     1 Cony Ins.
4'1    1 VA
                                                                                                                                   are shown Items morked "(p.o.c.)'were paid outside
C. Note:   This form is furnished b give you a statemert of actual settlement costs. Amounts paid to and by the settlement agent
           the closing; they are shown here for informational purposes and se not included In the totals.

                       r:                                                            E. Name &Address of Seller.                                     F. Name &Address of Lender.
D. Name &Address of Dor.
ESRG Georgia Group l                                                                 Wholesale Listings Co
5317 Peachtree Boulevard                                                             1372 West Peachtree Street
Chamblee, GA 30341                                                                   Atlanta, GA 30309
                                                                                      H. Settlemert Agent:                                           I. Settlemert Date:
G. Propertylocation:
1564 Park Road Southeast                                                             Integrity Settlement Services                                   01/04/2018
                                                                                                                                                     Funding Date:
Atlanta, GA 30315
                                                                                                                                                     01/04/2018
                                                                                     Place of Settlemert:
                                                                                     401 E Jackson St Suite 3300 Tampa FL                            Disbursement Date:
                                                                                     33602                                                           01/04/2018


I Summary of Borrower's Transaction                                                                K Summary of Seller's Transaction


100.GrossAmourt Oue from                                                                          400.CrossAmourt Due to Seger
                                                              $300,000.00                         401.Contract sales price                                       $300,000.00
101.Contract sales price
102. Phrsonal property                                                                            402. Personal property
103.Settlemert charges to borrower(line 1400)                 $1,642.00                           403.
104.                                                                                              404.
105.                                                                                              405.
Adjustmertfor kerns paid bar sellerin advarKe                                                     Adjust/met forItems paid bfsellerin advance
106.CInflOwn Taxes                                                                                406.City'Town Taxes
107.County Taxes                                                                                  407. County Taxes
108.Assessmens                                                                                    4138.Assessmerts
109.                                                                                              409.
110.                                                                                              410.
111                                                                                               411
 112.                                                                                             41Z
                                                              $301,642.00                          420.trossAmourt Due to Seller                                 $300,000.00
 120.GossArnount Due tmm Borrower
 200.Amourt Paid by orin Behalfof Borrower                                                         500.Reductions inAmourt Due to Seller
201.Deposft                                                    $3,000.00                           501. Dress deposit bee instructIon1
                                                                                                   502.Settlemert charges to seller(line 1400)                   $625.00
202. Principal amourt of new loargs)
203.Existing bard)token subject b                                                                  503. Existing loard)taken subject b
204.                                                                                               504. Payoff of First Mortgage Loan                            $255.774.57
205.                                                                                               505. Payoff of Second Nbrtgage Loan
                                                                                                   506. Broker Fee                                               $1250.00
206.
207.                                                                                               507.
208.                                                                                               508.
209.                                                                                               509.
Adjustmerts foritems unpaid la/seller                                                               Adjustrnerts for items unpaid b/seller
                                                               $494.92                              510. Cib/Town Taxes to 12/27/2017                             $494.92
210.City'Town Tares to 12/27/2017
                                                               $161.58                              511.County Taxes to 12/27/2017                                $161.58
211 CountyTaxes to 12/27/2017
 212.Assessmerts                                                                                    512.Assessmerts
 213.                                                                                               513.
 214.                                                                                               514.
 215.                                                                                               515.-
 216.                                                                                               516.
 217.                                                                                               517.
 218.                                                                                               518.
 219.                                                                                               519.
 220.Total Paid b//for Borrower                                $3,656.50                            520.Total ReductionArnount Oue Seller                         $258,306.07
 300.Cash at fttlemertfrom/to Borrower                                                              600.Cash at 4tliement to/from Seller
                                                                $301,642.00                          601.Goss amourt due to seller(line 420)                      1300,000.00
 301.Cross amourt due from borrower(line 120)
                                                                                                    602. Less reductions in amourts due seller(ine 520)           $258,306.07
 302. Less amourts paid by/for borrower(line 220)               $3,656.50
                                                                $297,985.50                                                                                        $41,693.93
 303.Cash
                               n     To Borrower                                                    603.Cash            -To          From       r


                                                                                                                                     reporting the data.This agatiy may not collect this
The Public kporting Borden for this collection cf Information Is estimated at 35 minutes per response for collecting, reviewing, and
                                                                                                                                        is assured; tNs disclosure is mandatory.Thls is
information,andyou are not required to complete this form, unles it *splays a currently valid OMB control number. No confidentiality
designed b provide the parties b a RESR‘covered transactionwith Information during the settlement process.




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L Settle,.,


Division d comini      (line 7001 as blows.
70L $
702.$
703.COITIllission paid at stliernert
704.

80(Our origination chase                                                                                                (from GFE Ill
802.Your dee orchale 6,01rtg for the specific Invest rate chosen                                                        (from GFE 82)
803. lour adjusted origination chages                                                                                   (from GFE IA)
804.Appralsal lee                                                                                                        Mom GFE 03)
805.Credit report                                                                                                       (from GFE 83)
806.Tax service                                                                                                         (from GFE 03)
807.Flood certification                                                                                                 (from GFE 83)
808.
809.
810.
811.

901. Daily[Merest charges from 12/27/2017 001/01/2018                                                               (from GFE 010)
902.Abrtgase insurance pmnnan                                                                                        (from GFE 83)
903.illxneowner's insurance                                                                                         (from GFE 011)
904.

1001. hitial deposit ix your escrow account                                                                             (from GFE 89)
1002. Harrieonmer's insurance
1003. Nbrtgage Insurance
1004. Roperty taxes
1005.
1006.
1007.AggrepttAdjustmert $0.00

 1101.71de senAces and lender& tide Insurance                                                                           (from GFE 84) 5625.00
 1102. Settlernert or dosing fee to integrity Settlement Services 5625.00                                                                            $625.00
 1103. Owned tide inunance to Old Republic hirtionalTitie Insurance Company                                             (from GFE 115) 5717.00
 1104.lender's tide insuonce to Old Republic hartionalTrde Insurance Company
 1105. Ler 'S title pokylimit$
 1106.Owned title policylimit$300000.00
 1107.Agent's por on of the total tie Insurance premium b Integrity Settlement Services
 1108. Underwriter's portion d the total tide insuence premium b Cld Republic National ilde insurance Company $717.00
 1109.
 1110.
 1111.

 1201. Grecemmett recording charges                                                                                      (born GFE #7)
 1202. Deed $ Mortgage $ Release $to Fulton County Recording Office
 1203.Transfer taxes                                                                                                     (from GFE 08) 5300.00
 1204. Oh/County tax /starnps Deed $ Mortgage $
 1205.Sate tax/stamps Deed $300.00Monger $to Fulton County Recording Office
 1206.

 1301. Required services thatyou can shop Or                                                                             (horn GFE #6)
 1302.
 1303.
 1304.
 1305.
 1306.
 1307.
 1308.
 1309.
 1310.
                                                    ,rlion I and 502. Section K)
 1400. Total Settlement Charges (enter on lines 103.S                                                                                    S1.642 00   $625.00




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ChargesThat Canna Incluse                                                        HUD-111ne'
                                                                                          ,timber
Our origination chage                                                            1801
Your aedit archaise(points)for the specific irterest rate chosen                 #802
Your adjusted origination chages                                                 1803                                          $0.00
Transfer taxes                                                                   11.203                                                                        5300.00
                                                                                                                                                  tqrrIlltht


Governmert recording charges                                                     1201




Total
Increase between GFE and HUD-1 Chars

                                                                                                                                     CyR
Initial deposit br yourescrow accourt                                            1001
Dailyinterest charges                                                            901
Homeowner's Insurance
Title services and lendert title Insurance                                       1101                                                                          $625.00
Owner's title Insurance                                                          1103                                                                          5717.00



 L0311   Terms

Your initial loan amount is
Yourloan term Is
Your initial Irterest rate Is
Your Initial morthly amount owed for principal,Irterest,and my mortgage                        includes
Insurance Is
                                                                                  gi    Principal

                                                                                  FA    Interest

                                                                                 ❑ Mortgage Insurance

 Can yourInterest rate rise                                                      I XI No, I         I Yes, it can rise b a maximum cf            .The first change vAlibe on

                                                                                 and can charge again every            months after              . Every change date, your interest rate can
                                                                                 Increase ordecrease by            .Over the life of the loan,your interest rate is guaranteed to never be
                                                                                 tower than             or higherthan
 Even ll you male payrnerts on time,canyourloan balance rise                             No,            Yes, it can rise b a maximum d
                                                                                  X
                st.p:nd mrtsortgaonotiiiiilesiicam nyogrjonthIyamourt awed for
 Evenyouirtnelamle                                                               ..1
 pri                                              nce                            X No,                  Yes, the first increase can be on         and the morthlyamourt owed can rise b

                                                                                               .The maximum it can eier rise to Is
 Doesyourloan hme a ptepayrnert                                                          No,            Yes, your maximum prepaymert penalty's
                                                                                  X
 Does yourloan lute a balloon pawned?                                                    No,            Yes, you have a balloon paymert of            due in             years on
                                                                                 IXI                I


 Total morthlyamouk owed including rscowaccourt paymerts
                                                                                         You do net have a     lyescrow paymert for items,such as poperty taxes and homeowner's
                                                                                   X     Insurance.You must paythese items directly yourself.

                                                                                          You have an additional monthly escrow paymert of that results in a btal initial morthlyamourt
                                                                                          owed of.This includes principal, merest,any mortgate insurance and an/ Items diecked below:

                                                                                   ❑ Propertytaxes                             ❑ Homeowner% insurance

                                                                                    ❑ Rood insinance
                                                                                                                               ❑



Note: If you have airy questions about the trttlemert Charges and Loan Terns listed on this form, please contact your lender.


See signature addendum




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 Signature Addendum



ESRG Georgia Group l LLC, a Georgia Limited Liability Company            Wholesale Listings Co LLC, a Georgia Limited Liability Company

By:                                                                      By:

      Susan Tanoe, Manager                                    Date             Casita Simpson, Manager                               Date



The HUD-1 settlement statement which l have prepared is a true and accurate account of this transaction. I have caused or will cause the
funds to be disbursed in accordance with this statement


Settlement Agent                                                                                                                           Date




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           Elchibit "D"
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                             ASSIGNMENT OF CLAIM

This document is an assignment by Lima One Capital, LLC, a Georgia limited liability
company (hereinafter identified as the CLAIMANT).

CLAIMANT assigns to the following person or entity hereinafter identified here as
ASSIGNEE:

  Name:               Lima One Capital Special Servicing, Inc., a Delaware
                      corporation
  Address:            201 E. McBee Ave, Suite 300
                      Greenville, SC 29601

CLAIMANT has designated and appointed ASSIGNEE to act as CLAIMANT'S agent
and representative for CLAIMANT'S sole benefit pursuant to that certain agency
agreement (the "Agency Agreement") between CLAIMANT and ASSIGNEE with
respect to those certain legal claims CLAIMANT has arising out of the purported sale
of 1564 Park Road SE, Atlanta, GA 30315 and related financing provided by
CLAIMANT.

CLAIMANT hereby assigns, pursuant to the terms of the Agency Agreement, only
those claims that are against the following persons or entities:

    Name:       E.S. Real Estate            Name:        Consortium Title, LLC
                Consortium, Inc.
    Address:    5317 Chamblee Blvd          Address:     1775 Tysons Blvd
                Suite 316                                Tysons, VA 22182
                Chamblee, GA 30341


    Name:       Integrity Settlement        Name:        Aneaka English
                Services, LLC
    Address:    401 E. Jackson Street       Address:     3491 Cragstone Rd
                Suite 3300                               Lithonia, GA 30038
                Tampa, FL 33602


    Name:       Coleen Thomas               Name:        Casita Simpson
    Address:    1775 Tysons Blvd            Address:     5902 Bahama Court
                Tysons, VA 22182                         West Palm Beach, FL
                                                         33407
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CLAIMANT has duly executed this assignment to be effective this   day of August,
2018.

                                  CLAIMANT:

c6112-1116                        By: Lima One Management, LLC, a South
Date Executed                     Carolina limited liability company
                                  Its:   Mathigui

                                         By:
                                                JoA S. Warren,
                                         Its:   Manager




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